UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

UNITED STATES OF AMERICA .
NO. 3: 20-CR- 267
Vv.
THOMAS HARTLEY, : (ELECTRONICALLY FILED)
Defendant :
FILED
SCRANTON
ocT 29 2020
INDICTMENT “
PEF

 

 

 

 

INTRODUCTION: pEpuTY GLERK
| 1) At all times relevant to this Indictment, the defendant, Thomas
Hartley, was employed as a Special Agent with the United States
Department of Labor, Office of Inspector General, Office of Labor
Racketeering and Fraud. The defendant also served as a member of the
New Jersey National Guard.

2) The United States Government provides a “Basic Allowance for
Quarters” (“BAQ”), commonly referred to as a “Basic Allowance for
Housing” (“BAH”), in order to offset the cost of housing for a military
service member and his/her dependents, when the service member does
not receive government provided housing while in an active duty status

with the National Guard or Military Reserve. The amount of the BAQ
depends upon a number of factors, including the service member's duty
location, the location of their dependents, the pay grade of the service
members and whether the service member supports his/her dependents.

3) The Defense Travel Management Office (DTMO) sets the rates
for the BAQ by surveying the costs of rental properties in a particular
geographic location. Accordingly, the BAQ rate in high cost-of-living
areas will be much greater than the BAQ rate in lower cost-of-living
areas.

4) A service member can apply for the BAQ by submitting a
Department of the Army (“DA”) Form 5960, Authorization to Start,
Stop or Change Basic Allowance for Quarters (BAQ) and/or Variable
Housing Allowance (VHA). On the Form 5960, the service member
must provide information regarding the number of dependents he/she
has and the current address of those dependents. The service member
must certify that he/she is willing to provide adequate support for those
dependents and must further certify that the dependency status of
his/her dependents has not changed during the time period covered by
the Form. Finally, the service member must certify that all information

provided on the Form 5960 is true and correct. The Form 5960 clearly
states that criminal penalties can be imposed for making a false
statement in connection with a claim.

5) At all times relevant to this Indictment, the primary residence
of the defendant and his dependents was located in Henryville,
Pennsylvania. Beginning in August 2018, however, the defendant
submitted Forms 5960 to the Department of the Army in which he
falsely claimed that his dependents resided in Shrewsbury, New Jersey.
The BAQ rate set by the Defense Travel Management Office for the
Shrewsbury, New Jersey, area is higher than the BAQ rate for the
Henryville, Pennsylvania, area. For example, in 2018, the BAQ rate for
the Henryville, Pennsylvania, area was $1,845 per month, while the
BAQ rate for the Shrewsbury, New Jersey, area was $3,348 per month

—a difference of $1503 per month.
THE GRAND JURY CHARGES:

Count 1
(Theft of Government Funds)
(18 U.S.C. § 641)

6) On or about and between August 2018 and July 2020, within

the Middle District of Pennsylvania, and elsewhere, the defendant,
THOMAS HARTLEY,

did knowingly and willfully steal, purloin and convert to his own use
approximately $23,582 in Basic Allowance for Quarters (BAQ) funds, to
which the defendant was not entitled, such funds being the property of
the United States, by falsely claiming on multiple DA Forms 5960,
submitted to the Department of the Army, that his dependents resided
in Shrewsbury, New Jersey, when in fact, as the defendant well knew,

his dependents resided in Henryville, Pennsylvania.

All in violation of Title 18, United States Code, Section 641.
THE GRAND JURY FURTHER CHARGES:
COUNT 2
(False, Fictitious and Fraudulent Claims)
(18 U.S.C. § 287)

7) The allegations contained in paragraphs 1 through 5 of this
Indictment are hereby realleged and incorporated by reference.

8) On or about and between August 2018 and July 2020, within
the Middle District of Pennsylvania, and elsewhere, the defendant,

THOMAS HARTLEY,

did knowingly and intentionally make and present to the Department of
the Army a claim against the United States, that is, a claim for Basic
Allowance for Quarters.(BAQ) funds, knowing such claim to be false,
fictitious and fraudulent, in that the defendant submitted to the
Department of the Army DA Forms 5960 in which he falsely claimed
that his dependents resided in Shrewsbury, New Jersey, when in fact,

as the defendant well knew, his dependents resided in Henryville,

Pennsylvania.

All in violation of Title 18, United States Code, Section 287
THE GRAND JURY FURTHER CHARGES:
COUNT 3
(False Statements)
(18U.S.C. § 1001(a)(3))
9) The allegations contained in paragraphs 1 through 5 of this
Indictment are hereby realleged and incorporated by reference.
10) On or about August 21, 2018, within the Middle District of
Pennsylvania, and elsewhere, the defendant,
THOMAS HARTLEY,
did knowingly and willfully make and use a false writing and document,
knowing the same to contain a materially false, fictitious, and
fraudulent statement and entry in a matter within the jurisdiction of
the executive branch of the Government of the United States, in that
the defendant submitted to the Department of the Army a DA Form
5960 in which he falsely claimed that his dependents resided in
Shrewsbury, New Jersey, and had mortgage/rental expenses of $2,200
at that address, when in fact, as the defendant well knew, his

dependents resided in Henryville, Pennsylvania.

All in violation of Title 18, United States Code, Section 1001(a)(3)
THE GRAND JURY FURTHER CHARGES:
COUNT 4
(False Statements)
(18 U.S.C. § 1001(a)(3))
11) The allegations contained in paragraphs 1 through 5 of this
Indictment are hereby realleged and incorporated by reference.
12) On or about January 1, 2019, within the Middle District of
Pennsylvania, and elsewhere, the defendant,
THOMAS HARTLEY,
did knowingly and willfully make and use a false writing and document,
knowing the same to contain a materially false, fictitious, and
fraudulent statement and entry in a matter within the jurisdiction of
the executive branch of the Government of the United States, in that
the defendant submitted to the Department of the Army a DA Form
5960 in which he falsely claimed that his dependents resided in
Shrewsbury, New Jersey, when in fact, as the defendant well knew, his

dependents resided in Henryville, Pennsylvania.

All in violation of Title 18, United States Code, Section 1001(a)(3).
THE GRAND JURY FURTHER CHARGES:
COUNT 5
(False Statements)
(18U.S.C. § 1001(a)(3))
13) The allegations contained in paragraphs 1 through 5 of this
Indictment are hereby realleged and incorporated by reference.
14) On or about June 1, 2020, within the Middle District of
Pennsylvania, and elsewhere, the defendant,
THOMAS HARTLEY,
did knowingly and willfully make and use a false writing and document,
knowing the same to contain a materially false, fictitious, and
fraudulent statement and entry in a matter within the jurisdiction of
the executive branch of the Government of the United States, in that
the defendant submitted to the Department of the Army a DA Form
5960 in which he falsely claimed that his dependents resided in

Shrewsbury, New Jersey, when in fact, as the defendant well knew, his

dependents resided in Henryville, Pennsylvania.

All in violation of Title 18, United States Code, Section 1001(a)(3).
A TRUE BILL:
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DATE

 

 

GRAND JURY FOREPERSON

DAVID J. FREED
UNITED STATES ATTORNEY

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ROBERT J. O'HPARA
ASSISTANT U.S. ATTORNEY
